Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 1 of 83
Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 2 of 83
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 3 of 83

                                                                       3

1                   (The following was heard in open court at

2       10:05 a.m.)

3                   THE COURT:    How are you, sir?

4                   MR. DUBROW:    Good.   Thank you.

5                   THE COURT:    Mr. Rucket.

6                   MR. RUCKET:    Good morning, Your Honor.

7                   THE COURT:    How are you?    And Mr. -- is it

8       Keeley?

9                   MR. KEELEY:    Good morning, Your Honor.

10                  THE COURT:    How are you?

11                  MR. KEELEY:    Good.   Thank you.

12                  THE COURT:    All right.    This would be Mr.

13      Keller’s motion to dismiss, is that correct?

14                  MR. KELLER:    That’s correct, Your Honor.

15                  THE COURT:    Why don’t we do this in order of

16      counts?   All right.     So let’s just go count -- we’ll

17      address Count 1 through Count 8.        We’ll start with Count

18      1.   What’s your argument on Count 1?        I’ve read your

19      papers.   What do you think I need -- what else do you

20      think I need to know, so to speak?

21                  MR. KELLER:    Well, Your Honor, may I raise a

22      threshold issue --

23                  THE COURT:    Sure.

24                  MR. KELLER:    -- before we get there?      So,

25      there are multiple attorneys here from FIRE.          They filed
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 4 of 83

                                 Argument - Keller                      4

1       a motion for leave to intervene that has not been ruled

2       upon.

3                   THE COURT:    Granted.

4                   MR. KELLER:    Okay.    Therefore, I have not had

5       a chance to respond to their brief, substantively.

6                   THE COURT:    You can do it today.

7                   MR. KELLER:    Okay.    Thank you, Your Honor.

8                   THE COURT:    All right.    Go ahead.

9                   MR. KELLER:    On Count 1, the breach of

10      contract claim, Your Honor, the -- the gist of the

11      plaintiff’s argument is this, I don’t like your process;

12      I don’t like the outcome.       I’m a male, and therefore,

13      lots of things flow from those three facts.

14                  THE COURT:    What’s your understanding of what

15      the -- what’s the contract?        My understanding, according

16      to the Complaint, it’s the handbook.

17                  MR. KELLER:    The disciplinary proceeding set

18      for in the handbook, that’s correct.

19                  THE COURT:    So is there a contract here?

20                  MR. KELLER:    Yes.    We -- we don’t disagree

21      that the --

22                  THE COURT:    So you do agree there is a

23      contract?

24                  MR. KELLER:    The disciplinary process, the

25      community standards process set forth in the handbook is
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 5 of 83

                                 Argument - Keller                        5

1       a contract, yes.

2                   THE COURT:    All right.    So your argument is,

3       there was no breach of that contract --

4                   MR. KELLER:    Correct.

5                   THE COURT:    -- because the contract was

6       complied with, given the process that was exercised.

7                   MR. KELLER:    That’s correct.

8                   THE COURT:    That’s the essence of your

9       argument?

10                  MR. KELLER:    That’s it, Your Honor.      Yes, and

11      the -- the plaintiff’s argument is, essentially, your --

12      your contract failed to have these things I think it

13      should have had.

14                  THE COURT:    Because they didn’t like the

15      result.

16                  MR. KELLER:    Yes, that’s different than you

17      did not comply with the contract.

18                  THE COURT:    All right.

19                  MR. KELLER:    That’s the gist of the argument

20      on Count 1.    I can go into more detail --

21                  THE COURT:    No, no.    I get it.

22                  MR. KELLER:    -- but that’s the heart of it.

23                  THE COURT:    I just wanted to make sure I

24      understand it.

25                  MR. KELLER:    Okay.    Sure.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 6 of 83

                                 Argument - Dubrow                     6

1                   THE COURT:    So let me hear from Mr. Dubrow on

2       Count 1.

3                   MR. DUBROW:    If Your Honor pleases, it seems

4       as if the argument advanced by the defendant is sour

5       grapes.    We didn’t like what happened, so therefore --

6                   THE COURT:    Right.

7                   MR. DUBROW:    -- we contend there’s a breach of

8       contract.    It is a rather detailed amended complaint

9       that was filed in this action.       We went to great lengths

10      to show what the supposed contract revisions required

11      and how they failed.

12                  Now, we can talk about specifics.        We can talk

13      about the fact that, from the very simplistic one, that

14      a report of the investigation was to have been provided

15      to the accused before the hearing.        A report was

16      provided to him, and then a supplemental report was

17      given to him, at the time of the hearing, which in my

18      view is, clearly, a breach of the contract.

19                  There was a promise of an investigation, a

20      thorough investigation.      What did we have?      We had

21      review of hearsay statements from a woman in a bathroom.

22      We had an accusation that my client was intimidating to

23      an investigator who felt that he was going to be "beat

24      up".   Your Honor, if you saw my client, he’s about 98

25      pounds dripping wet, and comparisons to Jerry Sandusky,
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 7 of 83

                                  Argument - Dubrow                        7

1       but the most critical thing -- the most critical thing

2       is that -- the single most important piece of evidence

3       in this entire equation is the series and exchange of

4       text messages.

5                    THE COURT:    That were considered on remand, as

6       it were, right?

7                    MR. DUBROW:    Well, let’s talk about that for a

8       second.   Because in my view, that die was cast, because

9       you have to look at this case from its totality.              We

10      have asserted not only did St. Joe breach it’s contract

11      by failing to consider the most important exculpatory

12      evidence in this case, at the early stages of the

13      proceeding, at the initial hearing.

14                   But if you take that juxtaposed with the

15      entire gender bias that St. Joe employs, by the time

16      that hearing was held and a finding made, without that

17      exculpatory evidence, and then it went up on appeal and

18      was remanded, in my view, the die was cast.          They

19      weren’t changing that verdict.       The breach had already

20      occurred and the damage suffered.

21                   So the mere fact that they conveniently say,

22      oh, oh, we did consider those text messages.          We did

23      remand it.    We did have a second hearing, but we

24      convicted you anyway, I think they -- there’s a little

25      more that needs to be shown than simply connecting the
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 8 of 83

                                 Argument - Dubrow                       8

1       dots.

2                   THE COURT:    Let me ask you something.

3                   MR. DUBROW:    Yes, Your Honor.

4                   THE COURT:    If you take this argument to its

5       logical extreme, let’s assume the result had gone the

6       other way, could Ms. Doe have said, hey, the contract’s

7       been breached, because I don’t like the result?          Could

8       she?

9                   MR. DUBROW:    If she felt -- if she felt that

10      certain contractual obligations on the part of St. Joe,

11      as recited in the handbook, and let me give you a

12      footnote on the handbook for a second.

13                  THE COURT:    No, hold on.

14                  MR. DUBROW:    Okay.   Well, let me --

15                  THE COURT:    I’m -- you know, here’s the

16      question.

17                  MR. DUBROW:    Okay.

18                  THE COURT:    Could she have, then, complained,

19      if she didn’t like the result?

20                  MR. DUBROW:    Absolutely.    If she felt -- if

21      the result was predicated by a breach of the St. Joe

22      contract, including the implied covenant of good faith,

23      which was also pled, which is part and parcel of the

24      contract, but it’s not a separate and distinct claim.

25      It’s part and parcel of the contract.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 9 of 83

                                  Argument - Dubrow                     9

1                    If she felt that St. Joe did not honor its

2       duties and obligations under that contract, why couldn’t

3       she sue?    So this is not, simply, oh, the loser’s asking

4       the Court to review what they did.        It is the victim, in

5       my view, the plaintiff, who’s been victimized, not only

6       by an inadequate procedure, but a procedure poorly

7       implemented, for a host of reasons, all articulated in

8       the amended complaint.

9                    THE COURT:    I get it.   So that, at the end of

10      the day, then, under your matrix, the loser of the

11      hearing could go to Federal Court and say, hey, there’s

12      a violation of the contract; I want to do this all over

13      again in Federal Court?

14                   MR. DUBROW:    No.    What I’m saying is, if there

15      was a breach of the contract, he or she has the right to

16      the right.    The case law allows it.

17                   THE COURT:    Well, if there was, but so if she

18      felt her rights were violated, she could go and -- she

19      could do the exact same thing that Mr. Harris has done?

20                   MR. DUBROW:    Well, when you say her rights

21      were violated, are you talking about --

22                   THE COURT:    The contract was violated.

23                   MR. DUBROW:    Yes.

24                   THE COURT:    Okay.

25                   MR. DUBROW:    Why not?
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 10 of 83

                                 Argument - Dubrow                     10

1                   THE COURT:    I just wanted to make sure I

2       understand that --

3                   MR. DUBROW:    Of course.

4                   THE COURT:    -- under your matrix, then, the

5       loser, as it were, in front of the community -- CSB,

6       right, Community Standards Board?

7                   MR. DUBROW:    Yes.

8                   THE COURT:    Could, then, come to Federal Court

9       and say, hey, my -- the contract was violated, I want a

10      hearing?

11                  MR. DUBROW:    Absolutely.

12                  THE COURT:    Okay.    Okay.

13                  MR. DUBROW:    No different than any other

14      breach of contract claim.

15                  THE COURT:    Right.

16                  MR. DUBROW:    But let me just add, since --

17      since I’m here on that contract issue.

18                  THE COURT:    Hm-hmm.

19                  MR. DUBROW:    Yes, we plead, in the amended

20      complaint, that the handbook is a contract.          St. Joe

21      insisted it’s a contract.       I am troubled, however, by

22      page three of the handbook that says it’s not a

23      contract.    And that fact, alone, creates a little bit of

24      a divot here, that alone, should defeat a motion to

25      dismiss, because I don’t know what St. Joe means by that
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 11 of 83

                                  Argument - Dubrow                    11

1       reference.     And if St. Joe is stating the position that

2       it’s not a contract, I want to know what other things

3       St. Joe is relying upon.

4                    THE COURT:    Well, they’re telling me it is a

5       contract, that’s right?       St. Joe’s is not disputing this

6       a contract, Mr. Keller, right?

7                    MR. KELLER:    The disciplinary procedures set

8       for the Community Standards Procedures, in forma

9       contract.    There are six or seven Pennsylvania cases

10      confirming that those procedures set for the contract.

11      The entire document, which, as we point out, it’s got

12      maps; it’s got class schedules, that -- the whole thing

13      is not a contract.      But the disciplinary procedures set

14      forth in the handbook are a contract.

15                   THE COURT:    Are a contract.

16                   MR. KELLER:    Correct.

17                   MR. DUBROW:    It’s not as clear, but if that’s

18      the position, that’s the position.

19                   THE COURT:    I told -- well, we’re here now, so

20      that’s St. Joe’s position.

21                   MR. DUBROW:    That’s St. Joe’s position, and my

22      position is, is that’s the contract upon I claim my

23      breach.    However, I point out to the Court, it’s an

24      involved -- it’s included in a document that reads, this

25      is not a contract, just bringing it to the Court’s
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 12 of 83

                                  Argument - Dubrow                     12

1       attention.

2                    THE COURT:    I get that, that the relevant

3       portion of this handbook is a contract.          And St. Joseph

4       just told us as much.

5                    MR. DUBROW:    The relevant portion of this

6       handbook is a contract, as articulated by St. Joe, a

7       contract by adhesion, a contract that’s take it or leave

8       it, a contract that St. Joe’s drafted, a contract that

9       St. Joe’s sought to implement, of course.

10                   THE COURT:    It was a contract.     Okay.   All

11      right.    Does Mr. --

12                   MR. KELLER:    Your Honor, may I briefly

13      respond?

14                   THE COURT:    Sure.   Yes.

15                   MR. KELLER:    Just to --

16                   THE COURT:    Well, let’s go down -- straight

17      down --

18                   MR. KELLER:    Yes.

19                   THE COURT:    -- the aisle.    Mr. Cohn, do you

20      weight in on this issue or not, the contract issue?

21                   MR. COHN:    No, Your Honor, we’re only here to

22      argue over our motion, whether or not it be granted.            Do

23      you need us?

24                   THE COURT:    Oh, so you’re --

25                   MR. COHN:    So I think you’ve granted it.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 13 of 83

                                 Argument - Rucket                     13

1                   THE COURT:      You’re done.   Okay.

2                   MR. COHN:    So we’re now -- now, we’re here to

3       listen, and -- and --

4                   THE COURT:      All right.   All right.   I’m sorry,

5       Mr. Keller.     Go ahead.

6                   MR. RUCKET:      Your Honor, if I may?

7                   THE COURT:      Go ahead.

8                   MR. RUCKET:      If I may, Dan Rucket, Your Honor.

9                   THE COURT:      Sure.

10                  MR. RUCKET:      We address this in our brief, as

11      well, but plaintiff is trying to have it both ways,

12      here, on the contract issue.

13                  THE COURT:      Now, Mr. Rucket, you represent

14      Jane Doe.

15                  MR. RUCKET:      I represent Jane Doe.

16                  THE COURT:      She’s not sued in Count 1.

17                  MR. RUCKET:      No, but we have our own motion --

18                  THE COURT:      She’s not sued in Count 1.

19                  MR. RUCKET:      -- to dismiss, which part --

20                  THE COURT:      But she’s not a player in Count 1,

21      right?    Count 1 is a breach of contract --

22                  MR. RUCKET:      Count 1 is not against her, but

23      it --

24                  THE COURT:      -- against St. Joseph’s

25      University.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 14 of 83

                                 Argument - Rucket                      14

1                   MR. RUCKET:    Yes, Your Honor, but it goes to

2       the claims against her, because if the procedures are

3       found to have been properly followed, then they’re --

4       then the finding against her, which we argue is binding

5       anyway, but if the procedures that St. Joe implemented

6       were properly followed, then that finding is conclusive,

7       no matter what, and there could be no claim against her,

8       because you can’t relitigate that.         So it --

9                   THE COURT:    Okay.

10                  MR. RUCKET:    -- does go to the claims against

11      her in our motion to dismiss, so if I could just weigh

12      in on the contract issue, which --

13                  THE COURT:    All right.    Sure.

14                  MR. RUCKET:    -- we do address in our brief.

15      Plaintiff is trying to have it both ways here.           They

16      allege a breach of contract.        If you look at the amended

17      complaint, specifically, alleges a contract, in four

18      different paragraphs.

19                  Particularly, if you look at paragraph 83,

20      they plead, "St. Joe’s breached the contract by failing

21      to comply with the handbook, a contract between

22      plaintiff and St. Joe’s University."

23                  So they pled an actual contract, that the

24      handbook was a contract, but when faced with an argument

25      that St. Joe’s actually did comply, now, all of a
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 15 of 83

                                 Rebuttal - Keller                        15

1       sudden, it’s ambiguous.       It’s confusing.     It’s a

2       contract of adhesion.      They cannot have it both ways.

3       In order to prove a breach of contract claim, they must

4       have a contract, which they have pled is the handbook.

5                   THE COURT:    Okay.   I’m sorry, Mr. Keller.         Do

6       you want to respond to Mr. Dubrow’s argument?

7                   MR. KELLER:    Thank you, Your Honor, yes, just

8       very briefly.     So a few things are important.        Some of

9       the words that you heard from plaintiff are the exact

10      problem with the plaintiff’s complaint.          You heard words

11      like, the guilty verdict, exculpatory evidence.            The

12      plaintiff continues to confuse criminal process or even

13      civil litigation with an internal administrative

14      proceeding.

15                  The St. Joe’s handbook, which is incorporated

16      in the plaintiff’s complaint, page 35 -- and this is

17      Exhibit A to our motion to dismiss -- says, "Community

18      Standards proceedings are not criminal or civil

19      proceedings, but rather, internal administrative

20      determinations of violations of institutional policy."

21                  This is a Community Standards process, where

22      the St. Joseph’s community decides whether, based on the

23      conduct alleged, the particular plaintiff is someone

24      they want to be a member of their community or not.              If

25      not, for how long they feel like he should be suspended
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 16 of 83

                                Rebuttal - Keller                      16

1       from the community -- he or she.        And Your Honor hit the

2       nail on the head, if in every case -- in every single

3       conduct case, every single conduct case, there’s going

4       to be a complaining student and a responding student.

5                   They’re both going to be of some gender, one

6       way or the other.      And if in every case, the unhappy

7       party gets to come to Federal court and say, I think you

8       breached the contract; I don’t like the outcome, and by

9       the way, because I’m of a certain gender, male or

10      female, I think there was Title 9 discrimination, every

11      single internal disciplinary process is going to end up

12      in Federal court.

13                  That’s not what courts are here to do,

14      respectfully.     There’s case law in Pennsylvania, which

15      we cite, that states, "It has been said that courts are

16      reluctant to interfere in the disciplinary proceedings

17      of a private college, because they’re internal

18      disciplinary proceedings where the college decides

19      whether someone has violated their community standards

20      or not."

21                  Not whether they’re guilty, beyond a

22      reasonable doubt, in a criminal proceedings, not whether

23      they’re liable in a civil action.        It’s, have you

24      violated our community standards or not?          And the

25      plaintiff’s specific allegations of breach, we go
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 17 of 83

                                Rebuttal - Keller                       17

 1      through each one, pages and pages, and say, they haven’t

2       -- what they’ve pled, and this is what Twombly talks

3       about, "A court is not required to accept conclusory,

4       legal allegations cast in the form of factual

5       allegations, if those conclusions cannot reasonably be

6       drawn from the facts alleged."

7                   That’s what the plaintiff does.        They say,

8       well, you failed to do this; you failed to do that.            In

9       our motion to dismiss, we say, what’s the factual

10      predicate for that?      The plaintiff’s reply doesn’t

11      answer that all.      They even move to a contract of

12      adhesion argument or a good faith argument.

13                  They don’t respond to the paragraph by

14      paragraph argument we make, explaining why each of their

15      allegations of breach, either isn’t something based in

16      the contract.     It’s, I wish the contract said something

17      else or there’s no factual predicate for it.          You failed

18      to have proper procedures.       Well, how?    Explain what --

19      what in the contract.

20                  And the things -- in fact, the things you

21      heard there, I don’t think you considered the text

22      messages or I don’t you considered them -- there’s no

23      contractual requirement considering text messages one

24      way or the other or, geez, you can’t consider it on

25      remand.    These are -- the contractual requirements are
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 18 of 83

                                  Rebuttal - Dubrow                    18

1       set forth in the handbook, as an internal administrative

2       proceeding.     St. Joe’s filed the internal administrative

3       proceeding, and the plaintiff doesn’t like the outcome.

4                    And Your Honor’s right, that if in every case

5       where somebody doesn’t like the outcome, they have a

6       breach of contract case, they have a Title 9 case, they

7       have a negligence case, we’re going to be here all the

8       time, Your Honor, and that’s not what courts are meant

9       to do, respectfully.

10                   THE COURT:    So at the end of the day, you’re

11      telling me whatever due process was prescribed by the

12      handbook was complied with?

13                   MR. KELLER:    Yes, as pled.     The plaintiff, in

14      paragraphs 44 to 66, goes through, in detail, all of the

15      procedures that were provided, and then says, but I

16      don’t like it.     I don’t like the way it happened in my

17      case.

18                   THE COURT:    Right.   Briefly.

19                   MR. DUBROW:    What’s the expression, a few good

20      apples can ruin the bunch?       We’re not here about every

21      internal disciplinary proceeding that St. Joe’s

22      conducted.     We’re here about one.     We’re here about one

23      that didn’t go right, wasn’t done right, wasn’t followed

24      right, wasn’t -- wasn’t accomplished correctly.           That’s

25      what this case is all about.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 19 of 83

                                Rebuttal - Dubrow                         19

1                   We’ve articulated a basis for that.         For the

2       Court to say, well, wait a minute, for me to allow this

3       case, am I opening up a floodgate?         No.   What the court

4       is saying is, there’s 22 line-ups.         They’re all good,

5       except for one.     Am I, now, going to open the door for

6       the other 21 line-ups?       No.

7                   You’re going to look at this case.        St. Joe

8       comes to us and says, wait a second.         We have prescribed

9       these internal disciplinary procedures.          We have

10      prescribed what is supposed to be done.          We have

11      admittedly taken the bare bones, based upon this

12      infamous "dear colleague" letter, which FIRE can

13      address.

14                  So they have knowingly taken the barest of

15      bones to allow for internal disciplinary procedure,

16      stripping the accused of any concept of fairness, let

17      alone due process.      And while the courts do say, yes, we

18      show some deference, the internal procedures, the courts

19      also say that, the only caveat to this principle is that

20      the disciplinary procedures established by the

21      institution must be fundamentally fair.

22                  Now, am I simply saying that these procedures

23      were not fundamentally fair because of the outcome?            No,

24      I’m saying that these procedures were so unfundamentally

25      fair that this outcome was made the moment of
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 20 of 83

                                 Argument - Keller                       20

 1      accusation.     So if St. Joe or any other university is

 2      going to prescribe and enact disciplinary procedures,

 3      those procedures must be in compliance with applicable

 4      law, and they must be implemented in accordance with the

 5      contract, not simply because, well, we did this, as

 6      again, what I said earlier.

 7                  Based upon the compelling evidence in this

 8      case, simply saying we connected the dots just isn’t

 9      enough.    And this plaintiff has the right to come into

10      this court and challenge the contract claim.

11                  Thank you.

12                  THE COURT:    Thank you.    With respect to the

13      Title 9 claim, Mr. Keller, Count 2?

14                  MR. KELLER:    Yes, Your Honor, well I would

15      circle back to what I just stated, which is, in

16      literally every disciplinary proceeding, there’s a

17      complaining party.      There’s a responding party.       They’re

18      each of some gender, and the fact that there’s an

19      outcome that one of them does not like, does not make a

20      Title 9 claim.     It does not, so --

21                  THE COURT:    What about the Iqbal type argument

22      you made, with respect to Count 2?         Did they satisfy

23      Iqbal, the pleading requirements?

24                  MR. KELLER:    No.   No, they did not.      And in

25      fact, they did exactly what Iqbal prohibits, and I can
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 21 of 83

                                Argument - Keller                         21

1       tell you the paragraph -- I have it tabbed here.           Hold

2       on one second.      So here’s the allegation -- it’s

3       paragraph 92.     "Evidence of St. Joe’s impermissible

4       gender bias includes, but is not limited to, the

5       following."

6                   Okay.    So here’s where they’re going to tell

7       us how his gender impacted what St. Joe’s did in an

8       impermissible way.      Disregarding the text messages.        And

9       in what does -- explain to us, please -- explain to us

10      why that’s just not a conclusory allegation, the gender

11      influence of that.      In what way?    Did people say, we’re

12      disregarding the text messages because you’re a male.

13      In every case where there’s a man, we disregard text

14      messages?    Well, we would -- the hearing panel -- we

15      would consider these text messages, but because you’re a

16      male, we won’t.

17                  Nothing close to that.      It’s a conclusory

18      statement of gender bias, followed by the same conduct

19      they complained about for the breach of contract count.

20      "Condoning Kalin’s harsh and abusive attitude towards

21      Harris."    Again, no allegation, no specific allegation,

22      beyond a conclusory statement that that has anything to

23      do with gender.

24                  Failing to consider the text messages, again.

25      Remanding the case to the Board.        Denying Harris the
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 22 of 83

                                 Argument - Dubrow                        22

 1      right to confront and cross-examine his accusers.              Those

 2      specific -- and that’s -- those are the specific

 3      allegations.     They say, see gender bias.

 4                  Not one of those allegations, not one, has any

 5      specific allegation of how gender impacted those -- even

 6      if those could form a Title 9 claim, and we, of course,

 7      argue they couldn’t -- there’s no allegation of how

 8      gender impacted anything that St. Joe’s did, none, other

 9      than a conclusory statement, under Twombly, based on

10      gender bias, things happened I didn’t like.          That’s it,

11      Your Honor.     There’s not specific factual allegations of

12      how the things the plaintiff thinks were incorrect were

13      based on bias.

14                  THE COURT:    Mr. Dubrow, do you need more than

15      you pled?

16                  MR. DUBROW:    No, Your Honor.

17                  THE COURT:    Why not?

18                  MR. DUBROW:    Because Youssef tells me that

19      I’ve pled the correct -- the Youssef decision tells me

20      that what I’ve pled was sufficient, and even though

21      facts give rise to multiple claims, doesn’t mean they’re

22      mutually exclusive.

23                  THE COURT:    Was Youssef pre or post-Trumble?

24                  MR. DUBROW:    I believe Youssef was post-

25      Trumble.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 23 of 83

                                 Argument - Dubrow                     23

 1                  THE COURT:    Was it pre or post-Trumble?

 2                  MR. RUCKET:    I think it was in ‘90s, Your

 3      Honor.

 4                  MR. DUBROW:    It’s pre.     It was in ‘90, I’m

 5      sorry.

 6                  THE COURT:    Way before Trumble.

 7                  MR. DUBROW:    Yes.

 8                  THE COURT:    So how can you -- how can you

 9      suggest that --

10                  MR. DUBROW:    If it’s Trumble --

11                  THE COURT:    -- Youssef does -- Trumble and

12      Youssef were different analysis, right?

13                  MR. DUBROW:    Yes, but what Trumble is telling

14      us is about the specificity.        We aren’t alleging

15      specificity.     You want to talk about what gender bias

16      is?   Let’s see, a person is accused of having sexual

17      misconduct with a woman, and he’s compared to a "male

18      child pedophile".      Jerry Sandusky.     That sound a little

19      gender biased?     I think so.

20                  The fact that the text messages, which is,

21      basically, the "booty call" from the girl, are omitted

22      from the record.      That’s not gender bias?      What more do

23      we need to plead?      We’ve pled sufficient facts that give

24      rise to an inference, and that’s all we need to show, a

25      short and plain statement of facts, putting them on
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 24 of 83

                                 Rebuttal - Keller                     24

 1      notice to the defense, so they may prepare the defense.

 2                  We have shown that what St. Joe’s did in this

 3      instance was gender biased.       We don’t have to show every

 4      aspect.    That’s what discovery is all about.        This

 5      simply gets us through the door, and we had pled

 6      sufficiently, under Twombly or any other case.           We have

 7      alleged sufficient facts to show that there was

 8      potential or not -- not actual gender bias employed

 9      here.

10                  THE COURT:    Okay.

11                  MR. KELLER:    Your Honor, may I very, very

12      briefly?

13                  THE COURT:    Briefly.

14                  MR. KELLER:    I promise.    So it’s interesting

15      to me that the plaintiff cites to Youssef, because in

16      his reply, plaintiff says, Youssef is not binding upon

17      this Court.     We, of course, think it is, but I just

18      found it interesting that they now rely upon Youssef.

19                  THE COURT:    Well, Youssef is, what, a Second

20      Circuit decision, right?

21                  MR. KELLER:    It is.    That sets forth --

22                  THE COURT:    So is it binding on this Court?

23                  MR. KELLER:    It’s the best analog to this type

24      of case.

25                  THE COURT:    Is it binding on this Court?
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 25 of 83

                                 Rebuttal - Keller                      25

 1                  MR. KELLER:    No.

 2                  THE COURT:    All right.

 3                  MR. KELLER:    No, there is no Third Circuit

 4      case directly on point with a disciplinary proceeding.

 5                  THE COURT:    I couldn’t find any.

 6                  MR. KELLER:    Nope, there’s not.      There’s not,

 7      Your Honor.     It’s been adopted by a number of other

 8      circuits, but you’re correct, there is not a binding

9       Third Circuit case.      The other, briefly, what Iqbal says

10      is, "Determining whether a complaint states a plausible

11      claim for relief, will be a context-specific task that

12      requires the reviewing court to draw on its judicial

13      experience and common sense."

14                  And I just wanted to mention that, because

15      what we’re faced with, common sense applies when we’re

16      making an analysis at the 12(b)6 stage.          And what the

17      plaintiff has done, and in my view has confirmed they’ve

18      done, said things I didn’t like happened, and I’m a

19      male, and that’s enough to show gender bias under Title

20      9.

21                  Common sense tells you that can’t be right,

22      and -- and that’s not the standard.         There needs to be

23      some showing of how the gender impacted the outcome, a

24      pleading -- how the gender impacted the outcome or a

25      pleading as to how female students in this case, in the
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 26 of 83

                                 Rebuttal - Keller                     26

1       same situation, are treated differently.

2                   THE COURT:    What about the reference to Mr.

3       Sandusky, suggesting that Mr. Harris was akin to Mr.

4       Sandusky.

5                   MR. KELLER:    I would argue, Your Honor, there

6       needs to be some pleading that says -- and you’re just

7       like all those male pedophiles, like Sandusky.           It -- it

8       -- one, frankly, it doesn’t make sense.

9                   THE COURT:    Well, but I mean, I --

10                  MR. KELLER:    This is not -- this is not a

11      case --

12                  THE COURT:    -- understand Mr. Dubrow’s

13      argument to be that, putting Sandusky’s name into play,

14      everybody knows who -- at least around here -- knows who

15      Sandusky was and what he did.        That’s what I understand

16      Mr. Dubrow to be telling me, and you’re telling me that

17      that’s enough, that he had to elaborate on who Sandusky

18      was and what he did, and there’s a correlation between

19      Mr. Harris’ conduct and Mr. Sandusky’s conduct?

20                  MR. KELLER:    I don’t -- I guess I don’t see,

21      Your Honor, how that reference, even accepting it is

22      true for current purposes, which, of course, we must,

23      why that’s based on gender, as opposed to, maybe, a

24      really bad interrogation technique or it’s fair to call

25      him a pedophile.      That’s really mean.     Those things
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 27 of 83

                                 Argument - Keller                     27

1       might be true.     But there’s no -- it’s not based on

2       gender.    If the statement was something like, you’re

3       just like all those men, like Sandusky, the way that you

4       treat women, something, which again, doesn’t make sense,

5       because Sandusky was abusing males.

6                   I mean, honestly, if we want to play it

7       through, and I know we’re at the 12(b)6 stage, but I

8       don’t see how that offhand statement in the course of an

9       investigation creates a gender bias that, in any way,

10      impacts the outcome.

11                  THE COURT:    Okay.   With respect to Count 3,

12      the negligence.     As I understand the claim, it’s a

13      failure to train and failure to supervise, that there

14      was no training, no supervision of the -- of the folks

15      that comprised the CSB and of the investigators.

16                  MR. KELLER:    Yes, so, two arguments on that

17      point, Your Honor.      One, we say in our motion, we’re not

18      -- the plaintiff does not articulate what the duty is,

19      why we owe a duty to plaintiff to train people in a

20      particular way, in a way that he finds more appropriate?

21      And the plaintiff actually doesn’t respond to that at

22      all in his reply.

23                  He solely talks about just the Action

24      Doctrine.    So, one, I’m not sure what the basis of the

25      duty is, but even if there is a duty, and again, the
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 28 of 83

                                 Argument - Dubrow                       28

1       plaintiff doesn’t respond to that piece, I think the

2       gist of the Action Doctrine does apply here, because the

3       things that plaintiff says we did, we’ve been back and

4       forth on whether the plaintiff thinks there’s a contract

5       or not, but now, if there is, the things he says we did

6       wrong, improper training, improper investigation and so

7       on, they’re in his breach of contract count so it’s one

8       or the other.

9                   THE COURT:    And, Mr. Dubrow?

10                  MR. DUBROW:    Well, given the fact that I had a

11      hand in drafting the opposition papers, I have to

12      respectfully disagree.       We did take this -- we tackled

13      this issue head-on.      What I find interesting is, on the

14      one hand, the defendant, St. Joe, takes the position

15      that we have not established a breach of contract claim,

16      but then says, you haven’t established a negligence

17      claim because it’s subsumed in the breach of contract

18      claim, which you haven’t stated either.

19                  It’s difficult to have your cake and eat it,

20      too, in this instance.       Well, let’s talk about the

21      negligence issue.      The core argument that was advanced

22      by St. Joe’s had to do with the gist of the action, and

23      that’s really separated, simplistically.          One, we have

24      duties that we owe to one another, based upon the social

25      compact.    I shouldn’t hit you with my car.        I shouldn’t,
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 29 of 83

                                 Rebuttal - Keller                       29

1       you know, have a crack in my sidewalk.         There are no

2       contractual obligations.       St. Joseph’s University did

3       undertake a contractual obligation.         The contractual

4       obligation was to establish the Community Standards

5       Board.    The obligation was to establish a panel.         The

6       obligation was to employ specific people to serve on the

7       panel and train them to do these things.          Okay.

8                   But their contract doesn’t specifically say,

9       we’re going to train them.       We’re just going to use

10      them.    That’s the contract claim.      The duty to train and

11      employ appropriate people to carry out your duties and

12      responsibilities is separate and apart from the

13      contract, and that forms the basis of the negligence

14      claim, and that’s why they’re doing it.

15                  THE COURT:    All right.

16                  MR. KELLER:    Well, one -- one point, then,

17      Your Honor.     And that’s the issue we’ve raised is, we

18      would like to understand the source of the duty.           Pages

19      26 to 27 of the plaintiff’s brief --

20                  THE COURT:    I think the source of the duty, if

21      I understand Mr. Dubrow correctly, and if I don’t, I’m

22      sure he’ll correct me, is that once you have this

23      contract, you have a duty not to be negligent about the

24      way you go about doing your business.

25                  Is that the essence of your claim, Mr. Dubrow?
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 30 of 83

                                 Rebuttal - Keller                     30

1                   MR. DUBROW:    Yes, in a sense, but what it is,

2       is to say that, if you’re going to undertake this

3       contract, you have now imposed upon yourself a duty to

4       carry out appropriately, not so much your contractual

5       obligations, but your training.        And that’s separate and

6       apart from contractual obligations.

7                   THE COURT:    Training of the folks --

8                   MR. DUBROW:    You train the right person to do

9       it.

10                  THE COURT:    -- training the folks that will

11      implement the contract, so to speak?

12                  MR. DUBROW:    Correct, and understand its terms

13      and also -- well, maybe even more, but it might come out

14      through discovery.

15                  MR. KELLER:    So responding to that, Your

16      Honor, again, if it’s -- if the claim is based in the

17      contract, then again, we’re back to the Gist of Action

18      Doctrine, which I think I heard.        If it’s, there’s some

19      social duty, which the plaintiff does say in their

20      brief, pages 26 to 27.

21                  We asked them for some authority about this

22      social duty concept, creating a duty to a particular

23      plaintiff to train their employees in a certain way.

24      There’s no case cited.       It’s a statement, you assume the

25      social duty.     We said, well, could you tell us the
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 31 of 83

                                  Argument - Keller                    31

 1      source for that, so we can evaluate it.          There’s no case

 2      citation.

 3                   MR. DUBROW:    Well, actually, Your Honor, we

4       cited the Delhomme that addresses that issue.           We

 5      addressed -- we cited Bayview Loan Servicing, LLC versus

 6      Law Firm of Richard M. Squire and Associates, that

 7      addresses that issue.       It talks about contractual

 8      obligations and also, independent torts for negligent

 9      training and hiring.

10                   THE COURT:    With respect to Count 4, the

11      unfair trade practices and the Consumer Protection Law.

12                   Mr. Keller?

13                   MR. KELLER:    Your Honor, really, two pieces on

14      this.     One, it’s our position that there is one case

15      that the plaintiff cites where a community college was

16      held to be subject to the Unfair Trade Practices Act.

17      In that case, the thing the plaintiff -- so if you

18      accept the UTPCPL can apply to a private educational

19      institution, which I’m not aware of a case that said

20      that applies to a private school as opposed to a public

21      school, but let’s say it could.

22                   So two things.    What’s the thing you’re

23      buying?     The thing people were buying in the Beaver

24      County Community College case was, we bought this

25      degree.    We’re coming to school so we can get this
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 32 of 83

                                Argument - Keller                        32

1       degree, and you fraudulently induced us to come, based

2       on that promise, because it turns out you can’t grant us

3       that degree.     The thing you pay tuition for is to get

4       the degree.

5                    The idea, again, going back to the

6       plausibility of Twombly and Iqbal, the idea that what

7       the plaintiff purchased here, the service he purchased,

8       was a particular set of disciplinary policies is not

9       plausible on its face.       It does not comport with common

10      sense.    The thing that Mr. Harris purchased, if he

11      purchased anything that’s subject to the UTPCPL, is the

12      right to work towards a degree.

13                   That’s what he paid his money for.       The idea

14      that I paid -- I came to St. Joe’s because I really

15      wanted a specific set of policies to apply, if I was

16      ever in -- in a student conduct proceeding.          It just

17      makes no -- it -- it defies the common sense test.             And

18      beyond that, there has to be reliance.         So the fact is,

19      the policies that Mr. Harris challenges now and says,

20      we’re inappropriate, and I -- I relied on, to my

21      detriment.     He didn’t know what those were until he

22      showed up.

23                   He can’t say, I paid my money.       I applied to

24      St. Joe’s because I wanted a certain set of policies,

25      when he didn’t even know what those policies were until
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 33 of 83

                                Argument - Dubrow                      33

1       he got here, so I think it should be dismissed on both

2       of those basis.

3                   MR. DUBROW:    Number one, what are the services

4       that he bought?      He bought the right to go to college.

5       Now, yes, the end result of that is a degree.           But does

6       St. Joe simply advertise itself as a college to get a

7       degree?    No.    It advertises itself to have students, to

8       have social interaction between the students, to have

9       sporting events, to have sporting -- intermural sports,

10      college sports, all types of things that a college

11      offers to somebody.

12                  Also, St. Joe imposed upon its student body

13      its disciplinary procedures.        They were part and parcel

14      of the sale.      If you’re going to buy our services to

15      obtain a degree, you’re going to buy the conditions

16      preceding we’re establishing for them.

17                  So all -- it becomes all part and parcel of

18      the same sale.      That’s what St. Joe imposed.      So

19      therefore, it does fall within the case cited, as -- as

20      being applicable to the act.        The second issue about the

21      reliance is an interesting one.        The handbook is given

22      to the student when he is accepted.

23                  When you receive the letter in the mail saying

24      you’re accepted at our college, you did not agree to

25      attend yet.      You did not enroll.    You may get one of 20
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 34 of 83

                                 Argument - Keller                        34

1       acceptance letters, and then make a decision.           He

2       receives the acceptance letter.        That’s when the

3       handbook is provided.      Then he subsequently enrolls.         He

4       relies upon the handbook prior to his enrollment.              That

5       satisfies the reliance requirement, under the Act.

6                   THE COURT:    Anything else?

7                   MR. KELLER:    Your Honor, all I would say is

8       that -- and I know the Court, obviously, will look at

9       the actual pleading.      That’s not how it’s actually pled.

10      That’s an argument today.       But I don’t think the UTPCPL

11      should apply for the reasons we stated, but also the way

12      it’s pled is, I relied upon these representations and

13      warranties about your procedures in coming to St. Joe’s.

14      It just -- temporally, it doesn’t make sense.

15                  THE COURT:    And, Mr. Rucket, I’m sorry, but

16      I’m assuming you’re joining in these arguments, unless I

17      hear otherwise, is that correct?

18                  MR. RUCKET:    Yes, Your Honor.

19                  THE COURT:    All right.    So let’s talk about

20      Count 5, the defamation claim, and this is Harris versus

21      St. Joe’s, Doe and Kalin.

22                  MR. KELLER:    Your Honor, for St. Joe’s and for

23      Kalin.    What the plaintiff complains about, as you

24      repeated, allegations, as pled, or allegations that --

25      that I -- Harris engaged in sexual assault, and you
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 35 of 83

                                 Argument - Keller                        35

1       repeated those to people.       One, that’s true, there were

2       allegations that Harris was engaged in sexual

3       misconduct.     That’s true.    There were.    So I --

4                   THE COURT:    Well, when you say it was true,

5       that there were allegations, not --

6                   MR. KELLER:    That there were allegations --

7                   THE COURT:    -- not the voracity of the

8       allegations?

9                   MR. KELLER:    Correct, that there were

10      allegations.

11                  THE COURT:    Okay.

12                  MR. KELLER:    And that people, in conducing an

13      investigation, which Mr. Harris says we have to conduct,

14      quite stridently, repeated those allegations.           I’m not

15      sure how any institution, higher education or otherwise,

16      is supposed to conduct an investigation if you can’t

17      tell people what the allegations are.

18                  So it’s true, in the course of conducting an

19      investigation, what is it you’re investigating?           Well,

20      it’s alleged that Mr. Harris engaged in sexual

21      misconduct.     It’s alleged he engaged in sexual assault.

22      That’s true.     Those -- but those statements were true.

23      That did happen.      Those statements were true.

24                  Secondly, we think there is a common interest

25      privilege which should apply here.         The communication of
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 36 of 83

                                 Argument - Rucket                       36

1       these statements were all within St. Joe’s in the course

2       of conducting an investigation.        There were statements

3       made to students, for the purposes of an investigation.

4       There were statements made among administrative for

5       purposes of an investigation.

6                   And the Common Interest Privilege, we believe,

7       should make those, in this particular situation, should

8       make those communications privileged, because they were

9       serving an important interest.        They were not

10      communicated to the public at large, and they were

11      serving a common interest, namely, to try to figure out

12      what happened.

13                  And last but not least, for a defamation

14      count, and there are other points in our brief, but you

15      do have to plead a particularized injury from the

16      alleged defamatory comment, and we don’t think the

17      plaintiff has done so, in this case.

18                  THE COURT:    Do you want to add anything, on

19      behalf of Ms. Doe?

20                  MR. RUCKET:    Yes, Your Honor, on our motion to

21      dismiss on the defamation count, actually, our primary

22      argument in this case goes to all the counts against my

23      client, including defamation.

24                  Your Honor, one in five college women will be

25      sexually assaulted through their years in college.             Date
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 37 of 83

                                Argument - Rucket                        37

1       rapes constitute about 42 percent of sexual assaults,

2       and they are the most under reported acts of sexual

3       assault on college campuses.        This is a situation where

4       my client was date raped by Mr. Harris.

5                   They rely on these, what they called today, a

6       "booty call", which are flirtatious emails hours

7       beforehand, which plaintiff contends -- nowhere in there

8       does it say sex or sexual intercourse -- but plaintiff

9       contends gave him a right for hours thereafter to do

10      whatever he wanted, because he had some emails that had

11      some flirtatious comments in there.

12                  That is just not the way the world works

13      today, and the context of this case, my client was date

14      raped.    She reported it, as the handbook requires.           She

15      went to the hearing, as the handbook requires.           She went

16      to a second hearing.      And the finding, twice, was that

17      she was sexually assaulted by the plaintiff.

18                  He has now filed this lawsuit in Federal

19      Court.    And we’ve cited numerous cases, and the

20      plaintiff has cited nothing to contradict them, that

21      says, that you cannot relitigate the underlying finding

22      of the Administrative Board.        I know we went through

23      this earlier, but I’d just like to reiterate that.

24                  You cannot have a second bite at the apple as

25      to the decision of whether it occurred.          The Courts are
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 38 of 83

                                Argument - Rucket                        38

1       not here to relitigate that.        It’s not the province of

2       the jury to go and redecide the underlying case.

3       Otherwise, every single administrative hearing would be

4       rendered worthless.      All anybody would have to do is

5       say, we don’t like the decision.        Let’s go to Court, and

6       we’ll get 12 -- eight or 12 jurors to go and redecide it

7       for us.

8                   So in the context of this case, the way that

9       it has been pled against St. Joe’s and my client, they

10      can challenge the hearing itself and whether it was done

11      properly.    And I agree.     And I join in St. Joe’s

12      argument that it was properly conducted.          They cannot

13      relitigate the underlying finding that the sexual

14      assault occurred.

15                  All of the counts against my client,

16      defamation, infliction of emotional distress, they’re

17      all relying on that single finding that this event

18      occurred.    If it didn’t occur or -- that it did not

19      occur.    If it -- the sexual assault occurred, as the

20      Hearing Board found, there can be no defamation.           There

21      can be no infliction of emotional distress.          There can

22      be no interference with contract.

23                  So in this case, they are bound by that

24      conclusion, and they cannot relitigate that.          So we

25      submit, Your Honor, that all of those -- all claims
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 39 of 83

                                  Argument - Rucket                    39

 1      against my client have to fail.        You can’t get up there

 2      in front of a jury and argue it didn’t happen, when it’s

 3      been found that it did, and that it’s binding on him in

 4      this lawsuit.

 5                   THE COURT:    What about your immunity

 6      arguments?

 7                   MR. RUCKET:    Quasi-immunity -- immunity

 8      because of quasi-judicial privilege, Your Honor, the

 9      Schanne case held in Pennsylvania substantive law, that

10      a school administrative hearing can be a quasi-judicial

11      proceeding.     There was a Loudermill hearing.       That was a

12      special type of hearing, but it did not convert the

13      school into a government entity, as they argue from the

14      Schanne case that it should.

15                   It did not convert it into some type of

16      government function.       It’s still a school, still holding

17      a school function, and we believe that the Schanne case

18      explicitly holds that a school can be considered quasi-

19      judicial -- have a -- is a quasi-judicial function.

20                  In this case, absolute immunity would apply.

21      I talked in my brief about the public policy in that,

22      and as I started out, you want women to come forward

23      when they’ve been sexually assaulted.         It is the most

24      under reported crime.       There’s a series of lawsuits out

25      there right now, across the country where colleges are
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 40 of 83

                                 Argument - Rucket                     40

1       being accused of not doing the investigation and not

2       protecting women from sexual assaults.

3                   If women are afraid that if they come forward,

4       they’re going to be sued in Federal Court.          When the

5       process finds that they have been sexually assaulted or

6       they’re afraid to bring it up, that really hinders their

7       ability to come forward.

8                   So the public policy, really, mandates a

9       privilege in coming forward to allow the claims to be

10      adjudicated in whatever form.        In this case, it was with

11      the administrative hearing, the CSB, pursuant to the

12      handbook at St. Joe’s.

13                  THE COURT:    So in short, as I understand your

14      argument, every statement she made to anybody of

15      authority, including her -- the person is identified by

16      initials, O-something.

17                  MR. RUCKET:    O.T. -- O.T.

18                  THE COURT:    O.T.   All of those statement would

19      be covered by the immunity?

20                  MR. RUCKET:    Well in Schanne case, any

21      statement that leads --

22                  THE COURT:    No, no.    In this case, that’s what

23      your position is, right?

24                  MR. RUCKET:    Yes, yes.    And it --

25                  THE COURT:    So she has immunity from covering
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 41 of 83

                                  Argument - Dubrow                    41

 1      all of those statements.

 2                   MR. RUCKET:    Yeah, I mean, you’re in the

 3      bathroom.    Your friend comes forward, what’s wrong, and

 4      you tell her, you know, I was intimidated into having

 5      sex, and that leads to her saying, we’re reporting this,

 6      that leads to the administrative hearing, and under

 7      Schanne, that is covered by the immunity.

 8                   THE COURT:    Okay.    Mr. Keller, do you want to

 9      add anything to the immunity argument?

10                   MR. KELLER:    Not at this time, Your Honor.

11                   THE COURT:    Okay.    Mr. Dubrow, on both

12      arguments?

13                   MR. DUBROW:    Your Honor, I find it

14      fascinating, in a motion to dismiss, the defendants are

15      talking about studies.       Again, I don’t know what these

16      studies are.     I don’t know what these studies are based

17      upon.    I don’t know what the facts of the studies are.

18      We’re not talking about sexual assaults on campuses as a

19      whole.    We’re talking about one accusation of sexual

20      assault by a woman.

21                   Now, what I also find --

22                   THE COURT:    How do you distinguish this case

23      from Schanne?

24                   MR. DUBROW:    Very simply, this, this was not a

25      quasi-judicial proceeding.         This was an internal
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 42 of 83

                                  Argument - Dubrow                       42

1       proceeding by a university that involved no government

2       participation.     Due process wasn’t followed.

3       Fundamental Failures wasn’t followed.         No stenographer.

4       No record.     Nothing.    Even their own policies say that

5       we destroy all these records.

6                    How could you have any type of quasi or

7       judicial immunity attaching to any such proceedings?

8       But let’s go one step further, Your Honor.          Talk about

9       what the -- the plaintiff claims happened here.           First

10      of all, as we point out, in our opposition to the Doe

11      motion to dismiss, the Doe motion to dismiss is not a

12      motion to dismiss.      It’s an answer.     The first four

13      pages are chock full of her version of the incident.

14                   And then, after you read four pages of her

15      version of the incident, adds an oh, by the way.           For

16      purposes of the motion to dismiss, however, you should

17      accept what the plaintiff has to say as true.           Now, you

18      can take spins any which way you want on these text

19      messages.    I refer to it as a "booty call".        He refers

20      to it as a flirtation.       I refer to it as evidence,

21      specific evidence that was excluded from this record.

22                   Now, let’s go back to the issue about

23      immunity.    There is no immunity.      There is absolutely no

24      immunity.    And the fall-back position, and the -- and

25      the best evidence of this is, look at St. Joe’s surreply
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 43 of 83

                                 Argument - Dubrow                        43

1       -- or reply, to our brief.       They abandon the immunity

2       issue.    What they say is, no, Judge, what you need to

3       look at is, truth is the defense.

4                   THE COURT:    Well, that’s St. Joe’s position.

5       I understand that.

6                   MR. DUBROW:    Truth is the defense.       That was

7       the Doe position.      Oh, wait a minute, I accused him of

8       sexual assault.     It was true.     I mean, what is

9       defamation?     Defamation is a statement that’s untrue

10      about somebody that injures his character.

11                  THE COURT:    When do you apply that, in this --

12      in this context of --

13                  MR. DUBROW:    There would be no immunity.

14                  THE COURT:    -- ever, in a college setting?

15                  MR. DUBROW:    If they -- wait a second.       If, in

16      fact, they turned a college setting into a more

17      fundamentally sound process.        If there was due process;

18      if there was an issue of record; if students were

19      permitted to be represented by counsel, even have their

20      parents present; if there was adherence as to

21      confronting one’s accuser.

22                  You can’t have a Kangaroo Court, and then

23      throw the cloak of immunity over it.

24                  THE COURT:    But then, so is the woman that is

25      telling people that I’ve been violated --
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 44 of 83

                                 Argument - Dubrow                          44

1                   MR. DUBROW:    Yes.

2                   THE COURT:    -- she would have to know all of

3       this in advance, before she could make the decision to

4       report?    In other words, she’d have to know, well,

5       there’s immunity here, because there’s a process down

6       the line?

7                   MR. DUBROW:    What stops -- you know, a woman

8       goes to the police, which conveniently --

9                   THE COURT:    Right.

10                  MR. DUBROW:    -- she never did.      A woman goes

11      to the police and says, this guy, here, raped me.              He

12      assaulted me.     Well, they don’t just have her in a room,

13      bring him in a room.      What does she say; what does he

14      say.   We’re convicting you.       No, it doesn’t work that

15      way.

16                  We have an investigation.       We have probable

17      cause.    We have an arrest.      We have a preliminary

18      hearing.    We have a trial.      We have a process, which is

19      called the judicial process.        That’s where immunity

20      applies.

21                  But if you’re going to have a flimsy

22      procedure, a procedure that affords absolutely no rights

23      to the accused.     And you know, we come back to the issue

24      of that bare bones argument that I made earlier, not

25      confronting one’s accuser, no right to counsel, allowing
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 45 of 83

                                 Argument - Dubrow                       45

 1      in hearsay testimony.      Where does St. Joe say that this

 2      is -- well, what does St. Joe hide behind this, upon

 3      this "dear colleague" letter, which FIRE addresses, and

 4      which the law is going to demonstrate, does not give St.

 5      Joe that right.

 6                  What Jane -- St. Joe’s procedures were legally

 7      insufficient.     So now, you’re going to have this clearly

 8      insufficient process, and say, we’re going to cloak it

 9      with immunity, because we’re concerned that you women

10      out there are not coming forward and alleging when you

11      have been -- or complaining when you have been assaulted

12      or the victim of some sort of sexual crime from another

13      student.

14                  So we’re going to relax the standards to such,

15      almost to the point where this preponderance of the

16      evidence standards, more seem towards presumption of

17      guilt on the part of the accused, and then, cloak it

18      with immunity.     No, Your Honor, that’s not what the case

19      law tells us.

20                  THE COURT:    Well, distinguish this case.         What

21      due process was afforded in Schanne that wasn’t afforded

22      -- how do you distinguish Schanne from the -- what

23      happened in this case?

24                  MR. DUBROW:    There was no due process afforded

25      in this case, Your Honor.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 46 of 83

                                  Argument - Dubrow                      46

1                    THE COURT:    What was afforded in Schanne?

2                   MR. DUBROW:     I don’t --

3                   THE COURT:     Distinguish it from this case.

4                   MR. DUBROW:     I don’t know.     I don’t have it in

5       front of me.

 6                  THE COURT:     Schanne was the case with Lower

 7      Merion student and the teacher.          And the teacher had a

 8      sexual relationship with a student.         And then the

 9      student graduated, eventually came back home, as I

10      understand it, expressed some concerns about this

11      previous sexual relationship, and it was reported to the

12      -- the student reported it to her neighbor.          Her

13      neighbor was also a teacher at Lower Merion.

14                   MR. DUBROW:    Right.

15                   THE COURT:    And as a result of that

16      conversation with the teacher, there was administrative

17      proceedings brought against the -- the chemistry

18      professor.

19                   MR. DUBROW:    The teacher, yes.

20                   THE COURT:    So where was -- where’s the due

21      process that distinguishes the two sets of facts?

22                   MR. DUBROW:    Because I don’t know -- I

23      don’t --

24                   THE COURT:    That’s a very -- well, summary of

25      Schanne.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 47 of 83

                                 Argument - Dubrow                       47

1                   MR. DUBROW:    But I don’t know what due process

2       was afforded the teacher under the process.

3                   THE COURT:    I’m asking you to distinguish the

4       two.   Am I bound by Schanne.

5                   MR. DUBROW:    No, Your Honor, you’re only bound

6       by whether or not you find that the process that was

7       afforded qualifies for judicial or quasi-judicial

8       immunity.    And we’ve cited a series of cases that

9       demonstrated that it does not.

10                  THE COURT:    But there’s a case from our

11      district that --

12                  MR. DUBROW:    If the -- if you say -- if you

13      can compare the two basis of due process, you could say

14      that the due process afforded to this professor or to

15      this -- to the teacher was immeasurate with the due

16      process that was afforded to Mr. Harris, which I submit

17      was not, because it was afforded no process.          Now, why

18      should he be entitled -- why should St. Joe, with a

19      complaint, be entitled to judicial immunity?          Because

20      the process wasn’t the same.

21                  Plus, the issue about communication.         Do they

22      ignore the allegation in the complaint that -- that

23      says, at paragraph 73, "As the second semester of the

24      freshman year is about to begin, the Appeal Board still

25      has not ruled upon the panel’s finding in Harris, who is
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 48 of 83

                                 Argument - Dubrow                       48

1       hesitant to return to St. Joseph’s University, in light

2       of the, then, pending suspension."

3                   What did St. Joe want to do at that point?           I

4       can submit to that, Your Honor.        I was involved in that.

5       They wanted to put him in select housing.          They didn’t

6       want to put him in a dormitory.        They would have

7       stripped him of all privileges.

8                   They wanted to just allow him to go to class

9       and come back to whatever cot they were going to confine

10      him to.    Are you going to tell me this wasn’t

11      communicated to other people?        And so you go to the

12      fall-back argument employed by St. Joe and, even, Doe.

13      Oh, what about the truth defense?        What truth?     The

14      tainted truth?     This truth that’s the product of this

15      ridiculous Kangaroo Court disciplinary proceeding?

16      That’s the truth?

17                  THE COURT:    Well, what do you make of

18      counsel’s argument that a jury, as it were in this case,

19      can’t revisit the result of the disciplinary hearing?

20                  MR. DUBROW:    We’re not revisiting the result

21      of the disciplinary hearing.        We’re visiting, for the

22      first time, the disciplinary process, itself, because,

23      you know, if you say to me, well, look, I had this -- I

24      had this hearing, and the hearing produced a result.            So

25      we’re now bound by the result.        Wait a second.     Your
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 49 of 83

                                  Argument - Dubrow                     49

1       hearing didn’t allow A.       Your hearing, it didn’t allow

2       B.   Your hearing didn’t allow C.        Your hearing didn’t

3       allow D.

4                    And someone says, wait a second, that hearing

5       process was flawed or that hearing process was not

6       implemented, as agreed.       The result is not the issue.

7       It’s the process.      What St. Joe’s and Doe take the

8       position as, that we are upset with the result.           I’m not

9       here complaining about the result.         I’m complaining

10      about the process.      The result follows the faulty

11      process.    Had this process been implemented correctly --

12      established correctly and implemented to its core, you

13      would not have gotten this result.         You would not have

14      gotten it.     It is incredibly simple.

15                   THE COURT:    Wait, wait.    You said this process

16      plus, right?     This --

17                   MR. DUBROW:    This process plus, what?

18                   THE COURT:    You’re saying, if this process had

19      been implemented correctly, but you’re also suggesting

20      this process should have included the right to cross

21      witnesses, the right to confront --

22                   MR. DUBROW:    Correct.

23                   THE COURT:    -- your accuser, the right to

24      certain processes that are more akin to a criminal

25      trial.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 50 of 83

                                Argument - Dubrow                           50

1                   MR. DUBROW:    No, not so much through a

2       criminal trial, but something more than what they

3       offered, and that’s where they come back to this "dear

4       colleague" letter.      It says wait a minute.      There was an

5       edict from the Government.       We employed the bare bones,

6       as I said before.      FIRE comes forward and says, wait a

7       second, that "dear colleague" letter doesn’t have that

8       type of legal import.      You, St. Joe, were required to

9       offer more to your accused.

10                  So therefore, one of my positions is that, the

11      policy and the -- and the procedures, as established,

12      were flawed.     Then, to the extent that they were not

13      flawed or they were established, they weren’t

14      implemented properly, and that there -- there was this

15      infiltration of gender bias.

16                  There was this -- you know, it’s interesting.

17      Listen to the Doe argument.       Well, there’s this greater

18      concern that women don’t come forward.         What are we

19      hearing?    We’re hearing the underlying to this policy

20      and procedure.

21                  We want to favor the woman. We want to favor

22      the accuser.     That sounds like gender bias to me.           We

23      want to have a policy and procedure that does afford the

24      accused any type of process, any type of fundamental

25      fairness.    And then we want to say, oh, by the way, if
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 51 of 83

                                  Rebuttal - Rucket                       51

1       you want to complain about it, you can’t, and we’re

2       immune.

3                    MR. RUCKET:    Well, if I may --

4                    MR. DUBROW:    Defeats the history of this juris

5       prudence.

6                    THE COURT:    Sure.

7                    MR. RUCKET:    If may, Your Honor?

8                    THE COURT:    Sure.

9                    MR. RUCKET:    Once again, Mr. Dubrow, as he did

10      in his brief, completely ignores our argument.           All of

11      the cases we cite, the plaintiff is attacking the

12      process, and the Courts still hold, you cannot change

13      the underlying result.       We’re not going to relitigate

14      the underlying decision of the panel.         That’s not what

15      courts do.

16                   He can attack the process all he wants in this

17      trial.    He is bound to the decision that there was a

18      sexual assault, and therefore, all of his claims against

19      my client fail, because if there is a sexual assault,

20      she could not have defamed the plaintiff.          She could not

21      have intentionally inflicted emotional distress, et

22      cetera, et cetera.      So he talk about the process all he

23      wants; that’s not our argument.        He doesn’t address it

24      in his brief, and it hasn’t been addressed here.

25                   Your Honor asked a very interesting question
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 52 of 83

                                Rebuttal - Rucket                       52

1       at the beginning of this hearing, which is, if this had

2       gone the other way, and my client had been told no, we

3       don’t think a sexual assault occurred, could she come to

4       Court?    She could attack the process, but as I point out

5       in footnote eight of my brief, I guarantee you, the

6       plaintiff, Mr. Harris, will be making the exact same

7       argument we’re making here today, which is, you had a

8       hearing.    They even made a decision.       You can’t

9       relitigate that underlying argument.

10                  I don’t want to step on your toes, at all, Mr.

11      Keller, but this Kangaroo Court theory, this is a

12      private college.      It’s not subject to 14th Amendment due

13      process.    This wasn’t a Kangaroo Court.        It’s not a

14      criminal hearing.      You’re not entitled to criminal

15      procedure and criminal rules and criminal standards.

16      That’s what they want to hold St. Joe’s to in this

17      hearing.

18                  The standard that you get is what is in that

19      handbook.    I know you’re going to hear about the OCR

20      letter that was adopted by St. Joe’s.         That’s what the

21      hearing -- that’s what they agreed to.         That’s what you

22      get at the hearing.      That’s what Mr. Harris got.       That’s

23      what Jane Doe got, got a hearing pursuant to the

24      handbook.

25                  You can’t -- Mr. Harris wants this Court to
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 53 of 83

                                  Rebuttal - Rucket                    53

 1      rule that he should have been entitled to a criminal

 2      hearing.    He’s not.     He got the hearing he was entitled

 3      to twice.    There’s nothing that precluded him from

 4      introducing the text messages the first time, if he

 5      wanted them.     They were introduced the second time.

 6                   There was no predetermination the second time

 7      around, but he got the text messages in.          They were

 8      discussed.     They were found not to say what he thinks

 9      they, clearly, say, which we obviously dispute.           And the

10      panel found that there was a sexual assault.

11                   If this -- when this litigation, you can’t go

12      and -- and think of a jury charge, Your Honor.           You

13      can’t get up in front of the jury and say, well, we’re

14      going to decide whether the process was fair for St.

15      Joe’s, but ladies and gentlemen, you’re not allowed to

16      reconsider the underlying finding, but then, we’re going

17      to reconsider the underlying finding, when we rule on

18      the claims against Jane Doe.

19                   That’s why Reardon, Baine, all the cases cited

20      in my brief, all say the same thing about, you could

21      relitigate the process, but not the underlying results.

22                   Thank you.

23                   THE COURT:    What about the false light

24      argument?    Or did you want to add anything to this

25      argument?
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 54 of 83

                                 Rebuttal - Keller                        54

1                   MR. KELLER:    I -- I did, Your Honor, and if

2       I --

3                   THE COURT:    I’m sorry.

4                   MR. KELLER:    -- may have -- thank you very

5       much.    So lots of responses to plaintiff’s argument. I,

6       obviously, disagree with the Kangaroo Court argument,

7       but -- but if we’re -- the idea that we’re hiding behind

8       something, if we’re hiding, we’re hiding in plain sight.

9                   The handbook says, it’s not a criminal

10      process; it’s not a civil process.         It’s an internal

11      administrative procedure.       We’re not hiding the ball;

12      it’s right -- the very contract the plaintiff relies

13      upon, and that he says, he relied upon in coming to St.

14      Joe’s, which is the basis for his UTPCPL claim, which

15      for other reasons, we think should be dismissed.           It’s

16      right in there.     There’s -- we’re not behind anything.

17                  We tell people when they come.        Here’s what

18      this is.    This is an internal administrative process.

19      And the idea that because it’s actually what -- what I

20      heard is exactly our point.       Because these things

21      happened to me, and I’m a male, it must all be biased

22      against men, and it must specifically be biased against

23      men in sexual misconduct proceedings.

24                  These Community Standards apply to such things

25      as -- and this is in the handbook, pages 28 to 29 --
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 55 of 83

                                Rebuttal - Keller                         55

1       violating the alcohol policy, using fire to endanger

2       someone else, destroying property, failing to comply

3       with the directions of university personnel, using

4       slurs, videotaping someone without their consent.              There

5       are all sorts of things that Community Standards apply

6       to.

7                    It’s not just, as the plaintiff would lead you

8       to believe, sexual assault or sexual misconduct

9       allegations made by female students against male

10      students.    These are the procedures that apply to

11      everybody for everything.

12                   If a male student accused a female student of

13      sexual assault, if a male student accused a female

14      student of making an audio recording.         If any student of

15      any gender is drinking in violation of the school’s

16      policy, these same standards apply to everyone, across

17      the Board.     There’s no different application one way or

18      the other.     There’s no allegation that there is.

19                   What you heard is, I wish this policy, again

20      -- yet agin -- I wish it had other things in it.           I wish

21      it required things that we’re used to seeing in criminal

22      court.    It’s not criminal court. You’re not going to

23      have a criminal court proceeding over an internal

24      alcohol policy violation, somebody drinking a beer in

25      the dorm.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 56 of 83

                                Rebuttal - Keller                        56

 1                  I mean, these policies apply to everything at

 2      St. Joe’s, not just accusations of sexual assault and

 3      not just accusations of sexual assault by females

 4      against males.     It would be the same process, if the

 5      roles were reversed.      It would be the same process if it

 6      were some other violation.

 7                  I also want to just briefly address a few

 8      other things that the plaintiff -- plaintiff continues

 9      to say the text messages weren’t considered.          His own,

10      as Your Honor’s pointed out, frankly, the amended

11      complaint pleads that they were.        He just didn’t like

12      when they were, but they were considered.

13                  The plaintiff continues to say that we

14      abandoned the quasi-judicial immunity argument.           We

15      didn’t abandon it.      In our reply brief, as we’re

16      supposed to do, and required to do by the rules, we

17      limited our reply to new issues that the plaintiff

18      raised.    That doesn’t mean we abandoned the quasi-

19      judicial argument.

20                  We didn’t emphasize it anymore, because I

21      think Schanne is right on point.        I think that case is

22      right on point.     And what that case says is, when we’re

23      evaluating statements made in the context of sexual

24      misconduct investigation, we need to determine whether

25      policy concerns, like encouraging open communication
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 57 of 83

                                Rebuttal - Keller                        57

1       without fear of lawsuits outweighs the right of the

2       defamation plaintiff to seek redress.

3                   And the Court in that case says, "We think

4       that allegations of sexual misconduct are so important,

5       as a matter of policy, that people should have a

6       privilege in making statements to lead to an

7       investigation, and then the investigation.          We need to

8       determine whether policy concerns, like encouraging open

9       communication without fear of lawsuits, outweighs the

10      right of the defamation plaintiff to seek redress.

11                  And the court in that case says, we think that

12      allegations of sexual misconduct are so important as a

13      matter of policy, that people should have a privilege in

14      making statements that will lead to an investigation,

15      and then the investigation goes where it goes.

16                  But the idea that people have to fear, to Your

17      Honor’s point, boy, if I say anything, I might be sued

18      for defamation.     That’s going to be counter to a public

19      policy which encourages people to report sexual assault,

20      the sexual misconduct.

21                  I think the case is on all four, so the reason

22      we describe it more in our reply brief is, because it’s

23      -- I think there’s much more to say.         The last point I

24      did want to -- I did want to mention briefly.           There is

25      a distinction in the defamation, and I’m not trying to
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 58 of 83

                                Rebuttal - Keller                      58

1       step on Mr. Rucket’s toes, but on the defamation count,

2       what the folks from St. Joe’s are alleged to have said

3       is, it’s alleged that.       That’s different.

4                   I mean, that’s what we did in the course of

5       the investigation, we told people, hey, listen it’s

6       alleged that Mr. Harris did this.        That -- that’s

7       different than he did this or did you know Mr. Harris

8       did that.    And to conduct the investigation, we had to

9       let people know what it was we were investigating.

10                  If that’s -- if that isn’t covered by the

11      Common Interest Privilege and isn’t an example of quasi-

12      judicial immunity, I don’t know what -- I don’t know

13      what any institution.      But certainly, private

14      institutions are supposed to do, so people make

15      allegations of sexual assault.

16                  We say, look, we’d love to -- we’d love to

17      investigate this.      We realize you’re unhappy and whether

18      it’s -- I’ll flip it -- it’s a male student accusing a

19      female student of sexual assault, and we say, listen,

20      Mr. Harris, Mr. Jones, whoever, you know, we really --

21      we used to investigate these things, but now, we’re

22      worried we’re going to be sued for defamation if we tell

23      people this allegation’s been made.

24                  That -- that’s not the law.       There are

25      protections built into the law, and I think they apply
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 59 of 83

                                 Rebuttal - Dubrow                       59

 1      here, and require dismissal of that claim.

 2                  MR. DUBROW:    First of all, Your Honor, I

 3      apologize for the Schanne argument.         I was looking at my

4       brief with regard to St. Joe.        Schanne was brought up by

5       Doe.

6                   THE COURT:    Right.

7                   MR. DUBROW:    And he did that on head-on.         And

8       I invite the Court to look to page 21 of a response

9       brief to the Doe argument, where we write that Doe’s

10      reliance upon Schanne versus Addis is misplaced for two

11      critical reasons.      In Schanne, unlike Harris, the

12      plaintiff conceded the defamatory statement related to

13      the quasi-judicial proceedings, so she made the

14      agreement, okay, which we don’t do here.

15                  Second, Schanne did not address the issue

16      presented in the instant action, "whether a purely

17      private internal disciplinary proceeding constituted

18      judicial -- quasi-judicial proceeding."

19                  And Schanne also involved what is called

20      Loudermill theory.

21                  THE COURT:    Right.

22                  MR. DUBROW:    And a Loudermill theory is

23      governmental.     So therefore, it has characteristics that

24      are quite different than the Harris situation.

25                  THE COURT:    Okay.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 60 of 83

                                 Rebuttal - Dubrow                          60

1                   MR. DUBROW:    Let’s talk about it’s common

2       interest policy and the privilege and things of that

3       sort.    Again, we go back to the flimsiness of this

4       internal proceeding, the flimsiness of the evidence.

5       You know, the issue about the text messages, if you look

6       at this entire case, you look at all the statements that

7       people made, and we don’t even know what they are.             We

8       haven’t been able to -- you know, we’re not even being

9       able to open the door further than ajar.

10                  THE COURT:    Right.

11                  MR. DUBROW:    We know that what was present for

12      these text messages.      We hear the words common sense

13      employed.    I read those text messages with common sense.

14      I had other people read these text messages with common

15      sense.    The conclusion was universal.

16                  Those text messages don’t make it to the first

17      hearing.    Oh, Mr. Harris could have introduced it.           Mr.

18      Harris was a novice here.       Mr. Harris wasn’t allowed to

19      have any assistance.      He wasn’t allowed a parent, a

20      representative.     Nobody was allowed to participate with

21      him.    He’s shown a report.

22                  He’s told that that’s the complete report.              He

23      goes to the hearing.      There’s supplemental information.

24      He doesn’t have time to review it.         He assumes that what

25      he put in there was accurately reported.          The next thing
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 61 of 83

                                 Rebuttal - Dubrow                       61

1       you know, he’s being found guilty.         Now, they talk

2       about, well, St. Joe’s says they’re alleging it.

3       They’re alleging it.      No, no.    He was found guilty by

4       this panel before the end of the semester.

5                   The appeal was not hear and ruled upon until

6       the following semester.       Yet, when he’s about to return

7       or thinking about the returning, he has all these types

8       of Draconian restrictions.       Why is that?     Because it’s

9       alleged that he committed a sexual assault?          No, I don’t

10      think so.

11                  I think discovery will bear out that he was

12      already convicted of the sexual assault, and that’s how

13      come the appeal was ridiculous.        It wasn’t going to

14      change anything.      That die was cast.     The contract was

15      breached.    The damage was suffered.       So therefore, you

16      do have a defamatory --

17                  THE COURT:    Well, wouldn’t there have to be a

18      decision before there can be an appeal?

19                  MR. DUBROW:    There was a decision.      The

20      decision was made in November.

21                  THE COURT:    Right.    In the first semester --

22                  MR. DUBROW:    He thought --

23                  THE COURT:    -- against Mr. Harris.

24                  MR. DUBROW:    Excuse me?

25                  THE COURT:    The decision was made against Mr.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 62 of 83

                                 Rebuttal - Dubrow                       62

1       Harris in --

2                   MR. DUBROW:    Against Mr. Harris, correct.

3                   THE COURT:    -- the first semester.

4                   MR. DUBROW:    Against Mr. Harris, yes, correct.

5                   THE COURT:    So --

6                   MR. DUBROW:    No, no, no.     A decision was made

7       against him --

8                   THE COURT:    Right.

9                   MR. DUBROW:    -- during the first semester of

10      his freshman year.

11                  THE COURT:    Right.

12                  MR. DUBROW:    His fall semester.      Okay.   He

13      then files a timely appeal.

14                  THE COURT:    Right.

15                  MR. DUBROW:    The decision’s still in play.

16                  THE COURT:    Right.

17                  MR. DUBROW:    The appeal is supposed to be

18      heard and resolved quickly.        It drifted into the

19      Christmas break.

20                  THE COURT:    Into January?

21                  MR. DUBROW:    Okay.    He, now, goes home,

22      because the school’s over.        He wants to come back.       St.

23      Joe’s starts to impose all these ridiculous restrictions

24      on him, because he’s already been "convicted" --

25                  THE COURT:    Right.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 63 of 83

                                  Rebuttal - Dubrow                    63

1                    THE COURT:    -- notwithstanding the pendency of

2       the appeal.     Are the communications still that it’s

3       alleged that he committed a sexual assault or are the

4       communications, no, Mr. Harris did, in fact, commit a

5       sexual assault?     And if they were, did, in fact, commit

6       a sexual assault, are they immunized communications?           We

7       submit not.

8                    And this is just a microcosm of the possible

9       scope of the defamation.       We don’t know it yet.      That’s

10      what discovery’s all about.        We have established

11      sufficient evidence.       We have made sufficient

12      allegations in the law to satisfy the rules in Federal

13      court pleadings.      We have done it.

14                   THE COURT:    Okay.

15                   MR. DUBROW:    They can’t simply say that, oh,

16      immunized.     No, I think that all of those issues need to

17      be fleshed out to determine whether there isn’t

18      immunity.    I submit there’s not.      But I don’t think that

19      this Court or any Court, at this stage of the

20      proceedings, could determine, as a matter of law, that

21      immunity bars this claim.

22                   And I don’t think that this Court or any other

23      Court could determine that truth, as a matter of law,

24      bars this claim.      So I submit that the defamation claim

25      against St. Joe’s, Kalin and Doe all apply.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 64 of 83

                                 Rebuttal - Dubrow                        64

1                   THE COURT:    All right.     False light claim?

2                   MR. DUBROW:    Your Honor, the false light, in

3       the defamation claims, although two separate causes of

4       action are basically the same arguments, and I believe

5       the defense would say the same, as well, is that

6       correct?

7                   MR. KELLER:    Well -- well, the one -- the one

8       key difference is publicity is important for false

9       light.

10                  THE COURT:    False light.

11                  MR. KELLER:    Yeah, you see it in cases of the

12      newspaper article or the TV story or people -- I mean,

13      the -- the only reason this matter has received any

14      publicity is because the plaintiff filed a lawsuit.

15      That’s the truth.      The -- the publication of the

16      allegations against Mr. Harris were made internally for

17      people at the university, so they could follow through

18      with the Community Standards process.         That’s it.

19                  MR. DUBROW:    No.   Number one, the publications

20      were not made solely because of this lawsuit.           For one,

21      they were published within St. Joseph’s University, and

22      I don’t know what the extent of the publication.           But,

23      also, he’s been stigmatized with a record, saying that

24      he was found guilty of sexual assault.

25                  He, now, has to go to apply to other colleges.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 65 of 83

                                Rebuttal - Keller                           65

1       Every one of those college applications says, were you

2       thrown out of another lawsuit -- or school?          Were you

3       suspended from another school?        It forces him to publish

4       something as this.

5                   MR. KELLER:    Your Honor, I guess if Mr. Harris

6       is the one that’s -- really, the same argument I made to

7       begin with.     If he’s out in the public, telling people

8       -- two different things.       If he’s saying this is what

9       was alleged, so it gets back to our threshold argument,

10      and -- and I’m not quite sure where plaintiff went with

11      that last argument.

12                  I feel like -- I just wanted to say briefly, I

13      feel like there is an intentional effort to conflate the

14      breach of contract and the process, and I don’t like the

15      way this happened and Title 9, in an effort to get past

16      12(b)6.    I’m being honest.     I think the question was

17      about defamation.

18                  The statements that the plaintiff alleges were

19      improper were -- and false light were, we told people

20      that he was alleged of sexual assault.         It’s true.      He

21      was alleged of sexual assault.

22                  The only publicity at that point was when we

23      conducted our internal investigation.         We didn’t go out

24      on the street corner.      He didn’t put it in the school

25      newspaper, and we didn’t go on the news.          We would never
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 66 of 83

                                 Argument - Keller                      66

 1      do that.

 2                  And if Mr. Harris is telling people, either

 3      through a Federal law suit or voluntarily in the public,

 4      hey listen, this is what happened, that’s not -- that

 5      certainly can’t be attributed to St. Joseph’s.

 6                  THE COURT:    Mr. Dubrow is saying that, but

 7      for, St. Joseph’s, he wouldn’t have to do it, that’s

 8      your argument, is the right?

 9                  MR. DUBROW:    Part and parcel of it, yes.

10                  THE COURT:    All right.    So what about the

11      intentional infliction of emotional distress?

12                  MR. KELLER:    Your Honor, there are a number of

13      cases cited in our brief in internal disciplinary

14      proceedings, the Reardon case, the Dempsey versus

15      Bucknell case, and there are a number of others, where

16      courts say, even if you disagree with our process, and

17      even if you think it could have been conducted in a

18      different way, that doesn’t give rise to a claim of

19      intentional infliction of emotional distress.           There

20      needs to be -- and some of the cases talk about ultra-

21      extreme conduct.

22                  So for instance, falsifying a document that

23      says you killed people and sending that around to the

24      prospective employers, that can give rise to intentional

25      inflection of emotional distress.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 67 of 83

                                Argument - Keller                           67

 1                  But there’s another case -- I’ll try to find

 2      it very quickly, if I can, Your Honor.         Let’s see.       This

 3      is the Hoffman versus Daugert (Ph), which we cite in our

 4      brief.    In that case, the defendant, in addition to

 5      engaging in other alleged tortious conduct, that he sent

 6      harassing notes, threatening violence against the

 7      plaintiff, explicit violence against the plaintiff.

 8                  And the Court said, well, that’s really bad,

 9      but that’s not ultra-extreme conduct or outrageous

10      conduct, other than saying -- and again, this goes back

11      to Twombly and Iqbal -- other than saying, the things

12      that St. Joe’s or the things that Kalin did are extreme

13      and outrageous.     There’s no specific, factual

14      allegations to support that.

15                  Even if you think it’s wrong, which we

16      disagree with or think it’s negligent, it’s not so

17      extreme or outrageous as to give rise to an IED claim.

18                  MR. DUBROW:    Now, far be it from me to say

19      that a reasonable prudent person, which is the standard,

20      wouldn’t find what St. Joe and Kalin did, extremely

21      outrageous, is, in my view, extremely outrageous.              If

22      you take the plaintiff’s theory and follow it to its

23      logical conclusion, he was victimized and scapegoated by

24      a failed policy that was improperly implemented.

25                  Here is a person who goes through life with a
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 68 of 83

                                Argument - Dubrow                       68

1       besmirched record that he committed a sexual assault,

2       based upon the accusations made by Jane Doe,

3       notwithstanding her own text messages, based upon

4       Kalin’s comparison of Harris to Jerry Sandusky, based

5       upon a hearing that was done, stripped of all

6       fundamental fairness, omitting the text messages, curing

7       it later maybe, probably not.

8                   And we’re going to say, oh, wait a second,

9       what you did wasn’t extremely outrageous.          Isn’t that

10      something that needs to be fleshed out by the facts?            We

11      have stated a strong foundation to support every cause

12      of action asserted against the defendants.

13                  And if you accept those allegations as true,

14      can this or any Court say, right now, that that wasn’t

15      extremely outrageous behavior, and the Court cannot say,

16      as a matter of law that it was not, the IED claim that

17      stands.

18                  MR. RUCKET:    What we just heard, Your Honor,

19      was, we want somebody else to evaluate these text

20      messages and make a decision on what they mean.           I’m not

21      going to go into what cuddle means here.          I’ve got a

22      completely different view of that, and I think that’s

23      supported by my investigation. Let’s have somebody else

24      evaluate it.     And that’s already been done, and that’s

25      already been decided, and that is what the are bound
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 69 of 83

                                  Argument - Dubrow                     69

1       with here.

2                    So again, as we stated in Count 1, and in my

3       motion to dismiss’s primary agreement, all of the

4       claims, including intentional infliction of emotional

5       distress fails.

6                    THE COURT:    Let me ask about Court 4.      I just

7       looked at my notes, and it’s something we did talk

8       about.    What about standing with respect to Count 4.

9       Count 4 is the Consumer Protection Claim.          Does he

10      purchase or lease goods or services?

11                   MR. DUBROW:    Of course, he bought his -- he

12      pays tuition.

13                   THE COURT:    He pays tuition?

14                   MR. DUBROW:    Correct.

15                   THE COURT:    Does it matter if it’s him or his

16      parents with respect to standing on Count 4

17                   MR. DUBROW:    Not for purposes of the motion to

18      dismiss?

19                   THE COURT:    Why not?

20                   MR. DUBROW:    He -- because he alleged he

21      purchased it.

22                   THE COURT:    Okay.   All right.    Fair enough.

23                   MR. DUBROW:    The arrangement between him and

24      his parents --

25                   THE COURT:    I’m just asking --
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 70 of 83

                                 Argument - Dubrow                      70

1                   MR. DUBROW:    -- may be sufficient to satisfy

2       that, but the allegation in the complaint is he

3       purchased the services.

4                   THE COURT:    Okay.   I know somebody made an

5       issue of that, so --

6                   MR. DUBROW:    The defense did.

7                   THE COURT:    I want to raise it while you were

8       all here.

9                   MR. DUBROW:    But again, the defendants keep

10      asking this Court to go outside the record.          The only

11      thing before the Court is the amended complaint.

12                  THE COURT:    Well, I understand that.       And the

13      attachments to the amended complaint, which is the

14      handbook.    No.   The only attachment -- that’s

15      interesting argument -- the only attachments in the

16      amended complaint were text messages, the complaint

17      referred to portions of the handbook.         The defendant,

18      St. Joe, attached the handbook.

19                  Now, I’m not going to argue the handbook’s not

20      before the Court.      We’ve certainly incorporated enough

21      of it to make it part of it part of the record.

22                  THE COURT:    I want to make sure we’re all on

23      the same page there.

24                  MR. DUBROW:    Precisely.    But the "dear

25      colleague" letter’s not part of the record.          And the
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 71 of 83

                                  Argument - Keller                    71

1       studies and all the other stuff that they want to bring

2       into it is not part of the record.

3                    THE COURT:    The handbook is.

4                    MR. DUBROW:    They made a party reference.

5                    THE COURT:    And you’re not disputing that?

6                    MR. DUBROW:    I make -- the only thing that’s

7       at issue on the complaint are those portions of the

8       handbook that we address.

9                    THE COURT:    Dealing with the disciplinary

10      protocols.

11                   MR. DUBROW:    Correct.

12                   THE COURT:    Right, yes.

13                   MR. DUBROW:    And also -- well, also the issue

14      about saying that’s not a contract.         But that’s --

15      that’s an interesting that we could develop later on.

16                   THE COURT:    Well, no, for the purposes of our

17      evaluation here --

18                   MR. DUBROW:    The handbook.

19                   THE COURT:    -- the handbook.

20                   MR. DUBROW:    The disciplinary procedures.

21                   THE COURT:    Disciplinary procedures, right.

22      Okay.

23                   MR. DUBROW:    Yes.

24                   MR. KELLER:    Your Honor, just very briefly, I

25      want to address two things.        So to one, on the Unfair
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 72 of 83

                                  Argument - Keller                    72

1       Trade Practices --

2                    THE COURT:    The standing?

3                    MR. KELLER:    Yes, that that I think it is

4       alleged in the complaint that he paid, and I would, as I

5       know we all know, if that’s not true, we have a Rule 11

6       issue. So I’m not saying it’s not, but the idea of well,

7       who -- who care, well it matters to his --

8                    THE COURT:    Even if he paid a little bit, he’s

9       in, right?

10                   MR. KELLER:    Yeah.   Well, I’d have to -- I’d

11      have to -- I don’t think there’s been any case out there

12      that says that, but if -- if he bought -- there are lots

13      of reasons why I think that claim doesn’t apply, which

14      I’ve already articulated.

15                   THE COURT:    There are a lot of different ways

16      to finance college in this day and age, and even if

17      Harris paid a portion of it or took a loan to pay a

18      portion of it, that would give him standing, wouldn’t

19      it?

20                   MR. KELLER:    In -- in -- yeah, I think that’s

21      right, Your Honor.      If -- if he paid it in the

22      expectation that he’d have certain disciplinary

23      proceedings, as we challenge

24                   THE COURT:    Right.

25                   MR. KELLER:    But the other thing I want to
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 73 of 83

                                     Colloquy                           73

1       say, just briefly is, again, and actually every time

2       that the plaintiff argues, they talk about guilty, and

3       they talk about the right to counsel, and they talk

4       about matters of criminal process.         That’s not what this

5       matter is.     That’s not what this case is about.        The

6       plaintiff again, says, I don’t feel like things went

7       they way we thought they should have done.

8                    I don’t feel like this process is -- we feel

9       like there should be other things in your process that

10      aren’t there.     That’s not what the law requires.        That’s

11      the thrust of the argument.

12                   THE COURT:    Give me five minutes.     I’ll be

13      right back.     We’re in recess.

14                   MR. KELLER:    Thank you, Your Honor.

15                   (Recess, 11:18 a.m.)

16                   THE COURT:    All right.   So let’s turn to FIRE,

17      as it were.

18                   MR. DUBROW:    Your Honor, could I just add one

19      little thing?

20                   THE COURT:    Sure.

21                   MR. DUBROW:    Okay.   Perhaps, a good analogy

22      would be to --

23                   THE COURT:    I’m having trouble hearing you,

24      Mr. -- wait a minute.      Wait a minute.

25                   MR. DUBROW:    Maybe -- maybe a better analogy
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 74 of 83

                                     Colloquy                           74

1       with regard to the process versus result analysis that

2       I’ve employed here would have been to a habeas corpus

3       proceeding, because there, you’re also addressing a

4       process versus a result.

5                   The defendants in this case keep coming to me

6       and saying, come to the Court, you’re unhappy with the

7       result.    You’re unhappy with the result.        Any person who

8       is unhappy with the result, is going to come in and

9       challenge it.     I haven’t seen too many in the court

10      docket involving St. Joe’s University.         What I suspect

11      is that they’ve had a number of internal disciplinary

12      proceedings.     I don’t know what happened during those

13      internal disciplinary proceedings.         I don’t know what

14      the results are.      The reason I don’t is, that their own

15      policies and procedures tell us that they destroy all

16      those documents.

17                  But what I do know is that -- put the result

18      aside in the Harris case -- what I do know is that the

19      policies and procedures employed were flawed, and the

20      implementation of those policies and procedures were

21      flawed.    That’s what we bring to the attention to the

22      Court.

23                  We could try this entire case, prevail on this

24      motion against us for a motion to dismiss, engage in

25      discovery, defeat a motion for summary judgment and take
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 75 of 83

                                     Colloquy                           75

1       this case to a jury.

2                   THE COURT:    But what would that look like?

3       What would that trial, to the jury, look like?           I’m just

4       curious.    In your own view, what would it look like?

5                   MR. DUBROW:    In terms of -- I mean, what would

6       it look like, in terms of exhibits mean?          I mean --

7                   THE COURT:    No, no.    You’re going to have your

8       client testify, give his version of what happened.

9                   MR. DUBROW:    Yeah.

10                  THE COURT:    He’ll talk about --

11                  MR. DUBROW:    It would be a lot more than that.

12      And I’m not going to -- I’m not going to show my hand.

13      I will explain at sidebar, but I’m going to --

14                  THE COURT:    No, no.

15                  MR. DUBROW:    I have evidence to show -- I have

16      evidence to show that this was clearly an unequivocally

17      consensual act, that this woman’s tearful remorse --

18                  THE COURT:    No, no.    I guess what I’m asking

19      is, so we -- se we would -- the underlining claims would

20      be tried, and then, whether St. Joe’s provided due

21      process would be tried?

22                  MR. DUBROW:    What would be at issue here would

23      be the issues raised on my complaint.         The issue would

24      be whether or not St. Joe adhered to its contractual

25      duties and obligations.       What are the contract terms?
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 76 of 83

                                     Colloquy                             76

1                    THE COURT:    Okay.

2                    MR. DUBROW:   Let’s flesh that out through

3       discovery.     Now, we have the contract terms.       Are those

4       contract terms -- and we were about to hear from FIRE --

5       are those contract terms in accordance with applicable

6       law?

7                    So now, what I have is, is St. Joe’s setting

8       forth its handbook, its disciplinary procedures that may

9       or may not be in conformance with applicable law, and

10      let’s assume they’re not.       If they’re not, they breached

11      a contract of initiative.       They imposed an unlawful

12      contract upon a student, who had no say in the matter.

13                   MR. RUCKET:   While we’re being given another

14      opportunity, Your Honor, I would also like to point out

15      that, I think Mr. Dubrow, in his argument earlier,

16      basically admitted or contradicted all of his basic

17      claims in this lawsuit.

18                   He made a statement that the fact in this

19      case, as he has pled them are that the sexual -- that my

20      client and his client had sex.        She went to the

21      bathroom, then that she came back in a cuddle, that she

22      cuddled with him until 10:00 a.m. in the morning.              That

23      was the statement he put on the record, that their facts

24      are that she cuddled with him, after having sex, until

25      10:00 a.m. in the morning.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 77 of 83

                                     Colloquy                            77

 1                  And isn’t that the whole point here, that

 2      they’re trying to make is that cuddling and the text

 3      messages were actually a "booty call", an invitation to

 4      sex, and can mean nothing other than sex, but on the

 5      record, he’s admitted that’s not accurate.          That’s not

 6      true.

 7                  This process worked the way it should have.

 8      Text messages were not an invitation to sex.          And what

 9      happened afterwards, adjudicated, it was decided, and

10      you can’t get back in front of a jury later and have

11      them redecide that.

12                  THE COURT:    Mr. Rucket, let me ask you a

13      question, going back to the immunity issue, in the

14      Schanne case, it’s clearly a public entity.          It was the

15      Lower Merion School District at issue.         Here, we have a

16      private institution, St. Joseph’s University is a

17      private institution.

18                  Does the -- in Pennsylvania, in this quasi-

19      judicial immunity attach to statements made in the

20      context of a private institution?

21                  MR. RUCKET:    Well, I have found no cases

22      dealing directly with a private school, but I would

23      argue, Your Honor, that Schanne does apply for public

24      policy purposes --

25                  THE COURT:    Okay.
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 78 of 83

                                     Colloquy                               78

1                   MR. RUCKET:    -- that you’re still talking

2       about a government -- I’m sorry, you’re talking about a

 3      school administrative hearing.        A Loudermill hearing is

 4      a type of hearing, but it still doesn’t turn the school

 5      into a governmental entity.

 6                  THE COURT:    Right.    Sir, how are you?

 7                  MR. COHN:     Good.    Thank you for having us

 8      here today.

 9                  THE COURT:    Sure.    So give me your perspective

10      on this case?

11                  MR. COHN:    Well, Your Honor, we were here for

12      only the limited purpose of insuring that the

13      defendant’s argument regarding that they had to do it

14      this way, because that’s what the "dear colleague"

15      letter required?

16                  THE COURT:    Right.

17                  MR. COHN:    We wanted to refute that argument.

18      That’s FIRE’s sole interest in the case.          We don’t have,

19      you know, a position on whether or not Mr. Harris’ due

20      process rates were ultimately, you know, violated.             So

21      that, the Court will have to look at what due process

22      procedures were provided him and whether or not that

23      ultimately met the obligations, and you’ll have to

24      compare what was missing versus what you ultimately

25      think is what they should have done to make the process
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 79 of 83

                                     Colloquy                            79

1       meaningful and fair.

2                    We weren’t here to weigh in on that question,

3       but looking at the totality of each of those things and

4       checking them off.      Was it here?     Was it there?    It

5       matters.

6                    THE COURT:    Okay.   Anything else, gentlemen?

7                    MR. KELLER:    No, Your Honor.

8                    MR. DUBROW:    What if it went the other way?

9       What would Jane Doe have done?

10                   THE COURT:    That was my question.

11                   MR. DUBROW:    Precisely.    There was also an

12      argument advanced by Jane Doe.        This isn’t about what

13      Jane Doe would have/would not have done.          We have four

14      pages of a useless statement by Jane Doe about what she

15      believed happened.      That’s not what’s before this Court.

16      What is before this Court is what happened to Harris;

17      what these policies were and how they were implemented.

18                   And we submit that our complaint is sufficient

19      to get past this stage of the proceedings, get into

20      discovery, and if we’re back in front of this Court on

21      dispositive motions from either side of the caption, we

22      could address it there with greater facts.

23                   THE COURT:    All right.    Anything else,

24      gentlemen?

25                   MR. RUCKET:    Your Honor, this is about my
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 80 of 83

                                     Colloquy                             80

1       client being date raped and having two hearings at her

2       school about it.      It’s not just about Mr. Harris.          It’s

3       about my client, as well.

4                   MR. KELLER:    Your Honor, we’ll address the

5       "dear colleague" in our responsive brief.

6                   THE COURT:    How much -- when do -- and I know

7       I caught you, maybe, off time today, but how much time

8       do you need to --

9                   MR. KELLER:    Today was a little more

10      aggressive than I was anticipating, Your Honor, but we

11      can get it done today, if you like.

12                  THE COURT:    No, no, no.    You don’t have to

13      file it today.     Tell -- whatever you need.       All right.

14                  MR. KELLER:    A week?    One week?

15                  THE COURT:    A week.

16                  MR. KELLER:    One week, but --

17                  THE COURT:    And after that’s filed, briefing

18      is closed in this, right?

19                  MR. KELLER:    That’s it, Your Honor.

20                  THE COURT:    Okay.

21                  MR. KELLER:    And -- and the point -- we will

22      get a brief in, but the point is, there are lots of

23      reasons why we think our policies and procedures are

24      okay, and we say, oh, and by the way, this "dear

25      colleague", but the idea that the "dear colleague"
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 81 of 83

                                     Colloquy                          81

1       letter is why we did what we did, I mean, that’s -- it’s

2       -- it’s really -- it’s almost irrelevant.          You know,

3       it’s very relevant to FIRE.       I understand that.      That’s

4       why they’re here.      But for our -- our disciplinary

5       process, we’ve explained in detail, in our motion to

6       dismiss, all the reasons why we think our policies and

7       procedures are acceptable, appropriate, consistent with

8       the case law, not the sorts of things that Federal

9       courts are supposed to be relitigating, and that’s

10      really the focus of the case.

11                  THE COURT:    All right.    And you’ll get back to

12      me on the 25th with respect to your filings, and then

13      the --

14                  MR. KELLER:    Yes.

15                  MR. DUBROW:    Well -- well, Your Honor --

16                  THE COURT:    -- hold on --

17                  MR. DUBROW:    I’m sorry.

18                  THE COURT:    -- and then the briefing is

19      closed.    Yes?

20                  MR. DUBROW:    My only suggestion is this,

21      perhaps to ease the burden upon St. Joseph’s to submit

22      this brief.     If St. Joe’s taken the position that, you

23      know, we really don’t need to talk about that "dear

24      colleague" argument, if the Court, at this time, would

25      say, I am not going to consider the "dear colleague"
     Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 82 of 83

                                     Colloquy                          82

1       component to the St. Joe’s argument, then it need not

2       consider the FIRE position, at this time, either.

3                    THE COURT:    Well, let St. Joseph’s decide how

4       they want to defend themselves.

5                    MR. DUBROW:   Very well.    All right.     So we are

6       adjourned.     Thank you, everybody.

7                    MR. KELLER:   Thank you, Your Honor.

8                    MR. RUCKET:   Thank you, Your Honor.

9                    (Proceedings concluded 11:42 a.m.)

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Case 2:13-cv-03937-LFR Document 50 Filed 01/27/14 Page 83 of 83
